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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA




MGM RESORTS INTERNATIONAL,
                                    Plaintiff,

               v.

                                                              Civil Action No. 24-1066 (JDB)
THE FEDERAL TRADE COMMISSION

and

ANDREW N. FERGUSON,
in his official capacity,

                                    Defendants.

                             SECOND JOINT STATUS REPORT
       Plaintiff MGM Resorts International (“MGM”), and Defendants, the Federal Trade

Commission and Andrew N. Ferguson, in his official capacity, (together with MGM, “the Parties”),

by and through their undersigned counsel, respectfully submit the following joint status report.

       On February 26, 2025, MGM received correspondence from the Federal Trade

Commission stating that it is withdrawing the Civil Investigative Demand (“CID”) to MGM. Later

that day, MGM’s counsel received further communication from the Commission’s counsel in the

District of Nevada matter—in which the Commission had sought an order of that Court to enforce

the CID—indicating the Commission’s intent to terminate the Nevada litigation, however the

Commission has not yet taken action in that regard and the case remains pending. The parties

expect to meet and confer about the status of the investigation and the Nevada action in the very

near future.




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       The parties are actively discussing the impact of these developments on the case at bar, and

respectfully request that they be permitted to submit another joint status report on or before March

21, 2025, to provide a further update to the Court on whether this case is moot.



                                                  Respectfully submitted,

 DATE: February 28, 2025

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